Case 20-10846 Doc 891-7 Filed 05/27/21 Entered 05/27/21 22:41:59 Proposed Order and
                               Certificate Page 1 of 3



                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF LOUISIANA

     IN RE:                                                §    Case No. 20-10846
                                                           §
     THE ROMAN CATHOLIC CHURCH                             §    Section “A”
     OF THE ARCHDIOCESE OF NEW                             §
     ORLEANS                                               §    Chapter 11
                                                           §
                    Debtor.8                               §
                                                           §


              ORDER APPROVING FIRST INTERIM APPLICATION FOR
      ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
             OF EXPENSES OF BERKELEY RESEARCH GROUP, LLC AS
       FINANCIAL ADVISORS FOR THE OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR THE PERIOD FROM JUNE 17, 2020 THROUGH MARCH 31, 2021


          CAME ON for consideration the First Interim Application for Allowance and Payment of

 Compensation and Reimbursement of Expenses of Berkeley Research Group, LLC as Financial

 Advisors for the Official Committee of Unsecured Creditors for Allowance of Compensation and

 Reimbursement of Expenses for the Period from June 17, 2020 through March 31, 2021 [Docket

 No. 842] (the “Application”) filed by Berkeley Research Group, LLC (the “Firm”) for the period

 from June 17, 2020 through March 31, 2021(the “Application Period”). The Court finds that the

 Application was properly served pursuant to the Federal and Local Rules of Bankruptcy Procedure,

 with proper notice language incorporated therein, and that no objection to the Application has been

 timely filed by any party. The Court, having examined the Application, including the voluntary

 reductions contained therein, and having determined on an interim basis whether the services and

 expenses as outlined in the Application were actual, reasonable and necessary in representing the




 8
  The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
 business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

 DOCS_LA:338150.2 05067/002
Case 20-10846 Doc 891-7 Filed 05/27/21 Entered 05/27/21 22:41:59 Proposed Order and
                               Certificate Page 2 of 3



 interests of the Committee, finds that just cause exists for entry of the following order.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

         1.       The Application is APPROVED in its entirety. The Firm is allowed and awarded,

 on an interim basis, fees for services rendered and expenses incurred in the amount of

 $256,275.52 for the Application Period as an administrative expense claim under Bankruptcy

 Code § 503 against the estate of the Debtor (the “Award”). This Award consists of $252,386.00

 in fees for services rendered and $3,889.52 in expenses incurred by the Firm during the

 Application Period.

         2.       The Debtor is further authorized, and directed, to pay the balance of the Award to the

 Firm on an interim basis as an administrative expense claim under Bankruptcy Code § 503 against the

 estates of the Debtor, within ten (10) calendar days after the entry of this Order.

         New Orleans, Louisiana, this ____ day of _______, 2021.




                                                 __________________________________________
                                                 MEREDITH S. GRABILL
                                                 UNITED STATES BANKRUPTCY JUDGE




                                                    2
 DOCS_LA:338150.2 05067/002
Case 20-10846 Doc 891-7 Filed 05/27/21 Entered 05/27/21 22:41:59 Proposed Order and
                               Certificate Page 3 of 3



                                 CERTIFICATE OF SERVICE

         I hereby caused a copy of the foregoing Application to be served on May 27, 2021 upon
 all parties by electronic case filing for those parties receiving notice via the Court’s Electronic
 Case Filing system, and on all other parties requiring service under the Court’s Ex Parte Order
 Authorizing the Debtor to Limit Notice and Establishing Notice Procedures through the Master
 Service List via first-class United States mail, postage prepaid, to be sent on May 27, 2021

                                              /s/ Nancy H. Brown
                                                  Nancy H. Brown




 DOCS_LA:338150.2 05067/002
